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                       RELEASE AND SETTLEMENT AGREEMENT

       This Release and Settlement Agreement (“Settlement Agreement”) is entered into on
December __, 2020, by and between Cintya Castro, Yulisa Delgado, and Marcela Latorre
(“Plaintiffs”) on the one hand; and Early Learning Language Academies, LLC d/b/a Whole Kids
Academy, Crystal Esler, John Esler, and Cassandra Castro (“Defendants”) on the other (together,
both sides will be referred to as the “Parties”).

                                             RECITALS

       A.      WHEREAS, Plaintiffs were at various times employed by Defendants;

        B.      WHEREAS, Plaintiffs initiated a lawsuit against Defendants in the United States
District Court for the District of Maryland seeking unpaid wages and overtime payments arising
out of purported violations of the federal Fair Labor Standards Act (“FLSA”), the Maryland Wage
and Hour Law (“MWHL”), and the Maryland Wage Payment and Collection Law (“MWPCL”),
captioned Castro, et al. v. Early Learning Language Academies, LLC, et al., Case No. 8:18-cv-
02421-PX (“the Lawsuit”); and,

         C.      WHEREAS, to avoid the delay, expense and uncertainty associated with further
litigation or other legal proceedings, the Parties desire to resolve the claims asserted in the Lawsuit
on the terms set forth in this Settlement Agreement, without any party acknowledging any fault or
liability.

         NOW, THEREFORE, in consideration of the mutual promises, covenants and agreements
set forth herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties hereby agree as follows:

                                          AGREEMENT

      1.     Settlement Payment. Defendants shall pay to Plaintiffs the total sum of Ninety
Thousand Dollars ($90,000.00), to be paid as follows:

            a. To Cintya Castro: Twenty-One Thousand Six Hundred Dollars ($21,600),

            b. To Yulisa Delgado: Sixteen Thousand Two Hundred Dollars ($16,200),

            c. To Marcela Latorre: Sixteen Thousand Two Hundred Dollars ($16,200),

            d. To Zipin, Amster & Greenberg, LLC: Thirty Six Thousand Dollars ($36,000) for
               reasonable attorney’s fees and expenses,

            e. Date: Defendants shall make all payments by delivering all checks to Plaintiffs’
               counsel by January 21st, 2021 or ten (10) days after Court approval of this
               Settlement Agreement, if that first occurs, at the following address:




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                       Zipin, Amster & Greenberg, LLC
                       c/o Philip B. Zipin, Esq.
                       8757 Georgia Ave., Suite 400
                       Silver Spring, MD 20910

           f. The payments to Plaintiffs and their counsel, totaling $90,000, shall be referenced
              herein as the “Settlement Payments.” The Settlement Payments are made in full
              and final settlement of all claims in the Lawsuit and the release set forth below,
              including attorneys’ fees and costs for which Plaintiffs and their counsel shall be
              responsible for any tax obligations, as more fully explained in Paragraph 6 below.

        2.      Court Approval. Within five (5) business days of the Parties’ execution of the
Settlement Agreement, Plaintiffs will submit it for approval by the United States District Court for
the District of Maryland, along with such supporting papers as the Court may require (including a
Joint Motion for Dismissal With Prejudice).

         3.      Release. Plaintiffs, on behalf of themselves and their past, present and future
representatives, attorneys, agents, heirs, successors and assigns, hereby release Defendants, their
past and current owners, shareholders, employees, directors, managers, officers, representatives,
affiliates, attorneys, agents, successors and assigns (the “Released Parties”) and each of them, to
and from any and all claims, demands, causes of action, obligations, damages, and liabilities of
any kind that they had, have, or may have against Released Parties, arising out of or relating to the
subject matter of the Lawsuit, and they agree not to file or initiate a lawsuit or bring any claims
arising out of the events that formed the basis of the Lawsuit.

        4.      Release of Unknown Claims. Plaintiffs represent that they are not aware of any
claims against Defendants or any Released Party except for those claims that are released by this
Settlement Agreement. Moreover, Plaintiffs agree and represent that while they may have claims
against Defendants or the Released Parties of which, at the time of the execution of this Settlement
Agreement, Plaintiffs have no knowledge or suspicion, but that this Settlement Agreement extends
to claims in any way based upon, connected with, or related to the matters described in Paragraph 3
above, whether or not known, claimed, or suspected by any Plaintiff.

        5.     Confidential Settlement. The Parties agree to maintain in complete confidence
the existence of this Settlement Agreement, the contents and terms of this Settlement Agreement,
and the consideration for this Settlement Agreement (the “Settlement Information”). Except as
required by Law, the Parties agree to disclose Settlement Information only to those attorneys,
accountants, tribunals, and governmental entities who have a reasonable need to know such
Settlement Information, and to prevent disclosure of any Settlement Information to other third
parties. Plaintiffs may reveal Settlement Information to immediate family members and
significant others. The Parties agree that there will be no publicity, directly or indirectly,
concerning any Settlement Information. The Parties agree that the confidentiality of Settlement
Information is of the essence, and that they would not have entered into this Settlement Agreement
without the protections offered by this Paragraph.

      6.       Tax Indemnification. Plaintiffs acknowledge that a portion of the Settlement
Payment is for non-wage damages, and that Defendants and their counsel make no representations


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or warranties with respect to the tax treatment of the Settlement Payments by any local, state, or
federal taxing authority. Plaintiffs agree that they are responsible for the tax liabilities and reporting
and other obligations that may result from the receipt of monies under this Agreement, except that,
as provided in Paragraph 1 above, Defendants shall pay the appropriate tax authorities the
employer portion of any and all payroll taxes required to be paid in connection with the Settlement
Payments. Plaintiffs specifically agrees to indemnify and hold harmless Defendants from any
other liability for any taxes, penalties, or interest that may be assessed by any taxing authority due
to the fact that Defendants made, or failed to make, withholdings or deductions from the Settlement
Payments relating to Plaintiffs’ tax liability for the Settlement Payments. Further, Plaintiffs agree
that Defendants shall not be required to pay any further sum to Plaintiffs or their attorneys, for any
reason, as part of this Agreement, even if the tax liabilities of Plaintiffs are ultimately assessed in
a fashion that is not presently anticipated, except for the employer’s share of FICA which may be
assessed

        7.      Non-Participation. Plaintiffs agree that, absent compulsion of lawfully issued
subpoena or court order, they will not directly or indirectly assist any non-governmental third party
or other non-governmental entity in maintaining, proceeding upon, or litigating any claim of any
kind in any forum against any of the Released Parties. With respect to any charges of complaints
that have been or may be filed concerning events or actions related to their employment or separation
from employment, Plaintiffs waive and release any right they may have to recover in any lawsuit or
proceeding brought by an administrative agency or other person on their behalf or that includes them
in a class. Plaintiffs agrees that they will not initiate, support, facilitate, or discuss any class action
claim or filing related to their employment with Defendants, and further agree that should such an
action be filed by others, they will not participate in the matter and/or will opt out of participation
in any certified class.

        8.      Mutual Non-Disparagement. The Parties agree not to disparage each other,
defined as follows:

        No Party shall make any statements, written or verbal, or cause or encourage others to
make any statements, written or verbal, that defame, disparage, or in any way criticize the personal
or business reputation, products, practices, services, or conduct of the other Party, its employees,
directors, and officers. For purposes of this Section, “disparage” shall mean to make any negative
statement, whether written or oral. The Parties acknowledge and agree that this prohibition
extends to statements, written or verbal, made to any third party including, but not limited to, the
news media, trade press, investors, potential investors, the federal government, any state
government, any board of directors or advisory board of directors, industry analysts, competitors,
strategic partners, vendors, employees (past and present), and customers (past or present) or
potential customers.

        Additionally, should anyone contact Defendants requesting information regarding
Plaintiffs’ employment, Defendants agrees to provide only the following information: dates of
employment, positions, and compensation.

        Notwithstanding anything to the contrary, nothing in this Agreement shall prevent either
Party from making truthful statements in compliance with a lawful subpoena or court order. The
Party about which the statement is to be made shall be notified prior to the statement being

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made. The Parties understand and agree that this Paragraph is a substantial and material provision
of this Agreement; that any breach of this Paragraph shall be a material breach of this Agreement;
and that each Party would be irreparably harmed by a violation of this provision.

        9.       No Admission of Liability. The Parties understand and acknowledge that this
Settlement Agreement constitutes a compromise and settlement of disputed claims. No action
taken by either party, either previously or in connection with this Settlement Agreement, shall be
deemed or construed as (a) an admission of the truth or falsity of any claims heretofore made, or
(b) an acknowledgment or admission by Defendants of any fault or liability whatsoever to
Plaintiffs or to any third party.

        10.     Representations and Warranties. The Parties represent and warrant that (a) they
have the full power and authority to enter into this Settlement Agreement, and (b) they have not
sold, assigned, transferred, conveyed, hypothecated, encumbered, or otherwise disposed of an
interest in any of the claims or demands relating to any subject matter covered by this Settlement
Agreement.

        11.     Attorneys’ Fees. If either Plaintiffs or Defendants bring an action against the other
party hereto or otherwise seeks to enforce this Settlement Agreement by reason of the breach of
any covenant, warranty, representation, or condition of this Settlement Agreement, or otherwise
arising out of this Settlement Agreement, whether for declaratory or other relief, the prevailing
party in such suit shall be entitled to its costs of suit and attorneys’ fees.

       12.      Counterparts. This Settlement Agreement may be executed in partially executed
counterparts, each of which shall be deemed an original and shall bind the signatory, but all of which
together shall constitute but one and the same instrument.

        13.     Severability. In the event that any provision hereof becomes or is declared by a
court of competent jurisdiction to be illegal, unenforceable, or void, this Settlement Agreement
shall continue in full force and effect without said provision.

        14.     Entire Agreement. This Settlement Agreement is the entire agreement and
understanding between the Parties. The Parties further agree that this Settlement Agreement may
not be altered except in a writing duly executed by the Parties. The laws of the State of Maryland
shall govern this Settlement Agreement, without regard to principles of conflicts of laws. Any
disputes regarding this Settlement Agreement shall be brought solely in the federal courts of
Maryland, and the Parties hereby consent to the personal jurisdiction and venue of such courts for
any such action, regardless of where they may reside or work at the time of such dispute.

       15.     Drafting. Each party has cooperated in the drafting and preparation of this
Settlement Agreement. Hence, in any construction or interpretation of this Settlement Agreement,
the same shall not be construed against any party on the basis that the party was the drafter.

      16.    Modification. This Settlement Agreement cannot be modified except in a written
document signed by all Parties to this Settlement Agreement, or as otherwise stated herein.

        17.    Effective Date. This Settlement Agreement becomes effective on the day all
Parties have executed the Settlement Agreement. The effective date in no way alters Defendants’

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obligation to make the payments set forth in Paragraph 1 by January 21 st, 2021.

       18.     Voluntary Execution of Settlement Agreement. The Parties enter into this
Settlement Agreement voluntarily and without any duress or undue influence on the part or behalf
of the Parties hereto, with the full intent of releasing claims as set forth above. The Parties
acknowledge that:

                 (a).   They have read this Settlement Agreement;

               (b).   They have been represented in the preparation, negotiation, and execution
of this Settlement Agreement by legal counsel of their own choice;

            (c).   They know and understand the terms and consequences of this Settlement
Agreement and of the releases it contains; and

                 (d).   They are fully aware of the legal and binding effect of this Settlement
Agreement.

        IN WITNESS HEREOF, the Parties have executed this Settlement Agreement on the
respective dates set forth below.

Early Learning Language Academies, LLC d/b/a Whole Kids Academy

By


Date:          12/28/2020



Crystal Esler


Crystal Esler

Date:          12/28/2020


John Esler


John Esler
               12/28/2020
Date:




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Cassandra Castro


Cassandra Castro

Date:    12/28/20

Cintya Castro


Cintya Castro

Date:

Yulisa Delgado


Yulisa Delgado

Date:

Marcela Latorre


Marcela Latorre

Date:   12/29/20




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                 (d).   They are fully aware of the legal and binding effect of this Settlement
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respective dates set forth below.

Early Learning Language Academies, LLC d/b/a Whole Kids Academy

By


Date:          12/28/2020



Crystal Esler


Crystal Esler

Date:          12/28/2020


John Esler


John Esler
               12/28/2020
Date:




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Cassandra Castro


Cassandra Castro

Date:    12/28/20

Cintya Castro


Cintya Castro

Date:    12/29/2020

Yulisa Delgado


Yulisa Delgado

Date:

Marcela Latorre


Marcela Latorre

Date:   12/29/20




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